CME MEY 795: EM-DCI Document 69 Filed 11/30/20 Page 1 of 17 PagelD 235 Page | of 2
U.S. District Court

Middle District of Tennessee (Nashville)
CRIMINAL DOCKET FOR CASE #: 3:20-mj-01171 All Defendants

CM/ ECF CRS

Case title: USA v. Walthour

Assigned to: Magistrate Judge Barbara D.
Holmes

Defendant (1)

Antonio Walthour

Rule 5 Transfer to the Middle District of
Florida

TERMINATED: 11/19/2020

Pending Counts
None

Highest Offense Level (Opening)
None

Terminated Counts

None

Highest Offense Level (Terminated)

None

Complaints
18:3148 Violations of conditions of release

Plaintiff
USA

https://ecf.tnmd.circ6.den/cgi-bin/DktRpt.pl?958307375135458-L_ 1 0-1

Internal Use Only

Date Filed: 11/16/2020
Date Terminated: 11/19/2020

ATTESTAND CERTIFY
ATRUE COPY
CLERK
U.S. DISTRICT

 

represented by Mariah A. Wooten
Federal Public Defender's Office (MDTN)
810 Broadway
Suite 200
Nashville, TN 37203
(615) 736-5047
Email: mariah_wooten@fd.org
ATTORNEY TO BE NOTICED
Designation: Public Defender or Community
Defender Appointment

Disposition

Disposition

Disposition

represented by Andrew Notaristefano

U.S. Attorney's Office (Nashville Office)
Middle District of Tennessee
110 Ninth Avenue, S

11/19/2020
See Case OT tr-OOL22°CEM-DCI Document 69 Filed 11/30/20 Page 2 of 17 PagelD 236! ase 2 of 2

Suite A961

Nashville, TN 37203-3870

(615) 736-2143

Fax: (615) 401-6626

Email: andrew.notaristefano@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Assistant US Attorney

 

 

 

 

 

 

 

 

 

 

Date Filed # Docket Text

11/16/2020 1 | Warrant Issued in the Middle District of Florida Returned Executed in this District on
11/16/2020 as to Antonio Walthour. (Attachments: # 1 Petition from USPO)(dt) (Entered:
11/19/2020)

11/16/2020 Arrest (Rule 5) of Antonio Walthour. (dt) (Entered: 11/19/2020)

11/16/2020 2 | MOTION for Detention by USA as to Antonio Walthour. (dt) (Entered: 11/19/2020)

11/16/2020 3 | Minute Entry for proceedings held before Magistrate Judge Barbara D. Holmes: Initial
Appearance in Rule 5{c)(3) Proceedings as to Antonio Walthour held on 1 1/16/2020.
Defendant appeared with appointed counsel Mariah A. Wooten. (dt) (Entered:
11/19/2020)

11/16/2020 4 | ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Antonio Walthour.
Signed by Magistrate Judge Barbara D. Holmes on 11/16/2020. (dt) (Entered: 11/19/2020)

11/16/2020 5 | ORDER HOLDING DEFENDANT TO ANSWER IN THE MIDDLE DISTRICT OF
FLORIDA as to Antonio Walthour. Signed by Magistrate Judge Barbara D. Holmes on
11/16/2020, (dt) (Entered: 11/19/2020)

11/16/2020 6 | COMMITMENT TO ANOTHER DISTRICT as to Antonio Walthour. Defendant
committed to Middle District of Florida. Signed by Magistrate Judge Barbara D. Holmes
on 11/16/2020. (dt) (Entered: 11/19/2020)

11/19/2020 7 | Rule 5(c)(3) Documents Transmitted to Middle District of Florida as to Antonio
Walthour, (dt) (Entered: 11/19/2020)

11/19/2020 ie (Court only) ***Case Terminated (Rule 5 Transfer to the Middle District of Florida). (dt)
(Entered: 11/19/2020)

 

 

 

 

 

https://ecf.tnmd.circ6.den/cgi-bin/DktRpt.pl?958307375 135458-L_1_0-1 11/19/2020
 

Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 3 of 17 PagelD 237

AO Ad2 (Rev EVIL) Areest Worrant Etny / O% iE Yo-

UNITED STATES DISTRICT COURT -A"Riaus cory

CLERK

for the

Middle District of Florida

 

United States of America

 

v. )
ANTONIO WALTHOUR ) Case No, 6:19-cr-122-Or-41DCI og
) = me
Oo :
se) 2B
m | =o
) aa = =
Defendait SS 2 25
ARREST WARRANT S ~ ~
~,}

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) = ANTONIO WALTHOUR
who is accused of an offense or violation based on the following document filed with the court:

O Indictment © Superseding Indictment C information © Superseding Information © Compiaint
. 0 Probation Violation Petition O Supervised Release Violation Petition Violation Notice OG Order of the Court

This offense is briefly described as follows:

Violation of Pretrial Release conditions. ec JU ob 10. ATRUE
See Attached Petition. § SUR ot a oA “THE OdIGINAL
oe tr I
pe ST OURT
Ld RIDA

iGhhiik

 
 

Date: 03/09/2020

 

~
issuing officl 's signatures

City and state: _ Orlando, Florida N. Rodriguez, Deputy Clerk
Printed name and title

 

Return

This warrant was received on (date) il / lel 26 , and the person was arrested on (date) Mc /2 3
at (city and state) Metall. Tal '
7
Date: fe! 26

 

 

    

Arresting officer's signature

AK \ .
fran Drennan a __

Printed name and title

 

 

Case 3:20-mj-01171 Document1 Filed 11/16/20 Page 1 of 3 PagelD #: 1
 

Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 4 of 17 PagelD 238

AQ 442 (Rev. TIAL) Arrest Warrant L TO l OS9/ oD YR
: UNITED STATES DISTRICT COURT

 

for the ~
Middle District of Florida 20M ~ / ) |

United States of America

 

v. )
ANTONIO WALTHOUR ) Case No, 8:19-cr-122-Orl-4iDCl 3
x
S £ hx
) Se om
an OO BA
Defendant S Oo a © mm
oz = 3°
ARREST WARRANT Ss * ~
~~
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

{nae of person to be arrested) = ANTONIO WALTHOUR
who is accused of an offense or violation based on the following document filed with the court:

CO} Indictrgent (1 Superseding Indictment O Information © Superseding Information © Complaint
. 0 Probation Violation Petition ©) Supervised Release Violation Petition | Violation Notice O Order of the Court
This offense is briefly described as follows:

Violation of Pretrial Release conditions. pet

 

 

 

 

 

 

 

iV th” REGOING | '
See Altached Petition. ee Fi A0ING TO BE A TRUE
I.
ACPUTY GLERK
Date: 03/09/2020 =<
, issuing offic ‘s signature
Cily and state: Orlando, Florida N. Rodriguez, Depuly Clerk
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date)
at (city and state}
Date:

 

Arresting officer's signature

 

Printed name and title

 

Case 3:20-mj-01171 Document 1 Filed 11/16/20 Page 2 of 3 PagelD #: 2

 
_ Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 5 of 17 PagelD 239
“2°A0 442 (RevA VIL) Arrest Warrant (Page 2)

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal,

(Not for Public Disclosure)

Name of defendant/offender:

 

Known aliases:

 

Last known residence:
Prior addresses to which defendant/offender may still have ties:

 

 

 

Last known employment:

 

-Last known telephone numbers:
“Place of birth:

Date of birth:

Social Security number:
Height: Weight:
Sex: : Race:
Hair: Eyes:
Scars, tattoos, other distinguishing marks: _*

 

 

 

 

 

 

 

 

 

 

History of violence, weapons, drug use:

 

Known family, friends, and other associates (name, relation, address, phone number):

 

 

FBI number:

Complete description of auto:

 

 

 

Investigative agency and address: |

 

 

. Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

rp

 

 

Date of last contact with pretrial services or probation officer (if applicable):

 

 

 

Case 3:20-mj-01171 Documenti Filed 11/16/20 Page 3 of 3 PagelD #: 3
Case 6:19-cl-00122-QB MFI STARE SD BTRICEP/290 PARTS of 17 PagelD 240

MIDDLE DISTRICT OF FLORIDA
PRETRIAL SERVICES OFFICE

401 W. Central Blvd., Ste 1-300 Phone: (407) 835-3950
Orlando, FL 32801 Fax: (407) 835-3951

MEMORANDUM

 

Honorable Daniel C. Irick

 

 

a United States Magistrate Judge
F Ebonie Henderson
UO United States Pretrial Services Officer
RE: Antonio Walthour
‘ Case No. 6:19-cr-00122-CEM-DCI-I
VIOLATION REPORT- REQUESTING
DATE: March 4, 2020
RELEASE STATUS:

On June 27, 2019, the defendant appeared before Magistrate Judge Jeffery S. Frensely in the
Middle District of Tennessee for his Initial Appearance, The defendant was released to pretrial
supervision and that district provided courtesy supervision at that time.

On November 19, 2019, the defendant appeared before Your Honor for his in-district Initial
Appearance and Arraignment. The defendant was released conditions of release previously set
in the Middle District of Tennessee.

On January 16, 2020, the defendant appeared before District Judge Carlos E, Mendoza and pled
guilty to Count One of the Indictment and the Court withheld adjudication of the defendant
until sentencing, Sentencing is set for April 1, 2020, at 9:00 AM,

APPARENT VIOLATIONS:

1} The defendant must not use or unlawfully possess a narcotic drug or other controlled
subsiances defined in 21 U.S.C. 802, unless prescribed by a licensed medical practitioner.

On November 5, 2019, the defendant submitted a drug test, which returned a positive result
for the presence of marijuana and cocaine. On December 5, 2019, the defendant submitted
a drug test, which returned a positive result for the presence of marijuana. On March 3,
2020, the defendant submitted a drug test, which returned a positive result for the presence
of marijuana and methamphetamine.

Case 3:20-mj-01171 Document 1-1 Filed 11/16/20 Page 1 of 6 PagelD #: 4
Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 7 of 17 PagelD 241

2) The defendant must not violate federal, state, or local law while on release,
On March 3, 2020, the defendant was arrested in Tennessee by the 19th Judicial District
Drug Task Force with Evidence-Tampering With Or Fabricating, Evading Arrest,
Methamphetamine Violation, Unlawful Drug Paraphernalia, Traffic-Speeding, and Driving
While License Revoked Or Suspended.

OFFICER INTERVENTION

On December 19, 2019, this Officer received an email from the defendant’s assigned Probation
Officer, Tiana Rock, in the Middle District of Tennessee. She informed this writer that on
November 5, 2019, the defendant tested positive for marijuana and cocaine. The laboratory
confirmed the results on November 12, 2019. Additionally, on December 5, 2019, the defendant
submitted a drug screen that was positive for marijuana, On December 10, 2019, the laboratory
confirmed the positive result. That same day, the defendant was referred for a substance abuse
assessment and drug screening was increased.

On March 3, 2020, this writer received an email from Probation Officer Tiana Rock to inform
this Officer that the defendant tested positive for marijuana and methamphetamine. The
defendant admitted to Ms. Rock that he used ecstasy and marijuana on February 29, 2020.

On March 4, 2020, this Officer received an email from Ms, Rock advising this writer that the
defendant was arrested March 3, 2020. This Officer conducted a criminal record check through
the National Crime Information Center (NCIC) and ATLAS. The database revealed on March
3, 2020, the defendant was arrested by the 19" Judicial District Drug Task Force with Evidence-
Tampering With Or Fabricating, Evading Arrest, Methamphetamine Violation, Unlawful Drug
Paraphernalia, Traffic-Speeding, and Driving While License Revoked Or Suspended. This
information was also confirmed with the Montgomery County Sheriff's Booking website at the
time of this violation.

Ms. Rock could not provide the arrest report by the case agent at the time of this violation and
she noted she could provide the report as soon as it became available, The agent did explain via
email that the incident happened in the Summit Heights area and the agent thought a drug deal
occurred so he got behind the defendant's vehicle and the defendant sped off. The agent advised
ihat law enforcement had to use spikes to get the vehicle to stop. A baggie was thrown out of
the defendant’s window, which was located and contained a white powder residue that tested
positive for methamphetamines, The defendant's passenger was arrested at that time as well.
According to the booking sheet, the defendant’s bond is $107,250.

This Officer notified Assistant United States Attorney Dana Edward Hill of this violation and
he concurred with the recommendation of Pretrial Services to revoke bond and issue a warrant.
Defense Counsel Charles M. Greene was also notified of this violation.

DEFENDANT’S ADJUSTMENT TO SUPERVISION

Other than these instances, Ms. Rock has not reported any other violations of Pretrial Release.
The defendant has complied with all other bond conditions.

The defendant was unable to be contacted as he is being held in Montgomery County Jail.

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Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 8 of 17 PagelD 242
RECOMMENDATION

Based upon the defendant’s positive drug screenings and new law violations, and the fact that

the defendant will be sentenced on April 1, 2020, it is respectfully requested that the defendant’s
bond be revoked and a warrant is issued.

ae Ke March 4, 2020

EBonie Henderson “—~ Date
United States Pretrial Services Officer

Reviewed va €mde |

Brandon Ramirez, Supervisory March 4, 2020
United States Pretrial Services Officer Date

Case 3:20-mj-01171 Document 1-1 Filed 11/16/20 Page 3 of 6 PagelD #: 6
Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 9 of 17 PagelD 243

CONFIDENTIAL PAGE TO JUDICIAL OFFICER

 

OFFICER COMMENT AND RECOMMENDATION:

‘The defendant has continued to test positive for illicit substances, and has been rearrested on new law
violations. Additionally, the defendant was given an opportunity after his first positive urinalysis to
complete a substance abuse assessment and receive increased drug screenings to correct his
noncompliance but neither of those options worked as he continued to test positive for illicit
substances and violate the law while on Pretrial Release.

Based upon the defendant’s inability to comply with the terms and conditions of release, it is
respectfully recommended that a warrant be issued for Mr. Antonio Walthour's arrest, and the
defendant's bond be revoked,

    

Eb6onie Henderson
United States Pretrial Services Officer

Reviewed by:

\WOennacs\ 2) 4| 2020

Brandon Ramirez, Supervisory Date
United States Pretrial Services Officer

 

Case 3:20-mj-01171 Document 1-1 Filed 11/16/20 Page 4 of 6 PagelD #: 7
Case 6:19-Gantt Bi1@ron 00622 poegumantst2 Fikled:10s6Nm 2020, Raverh pfeagelD 244

PSE
(BARB)

UNITED STATES DISTRICT COURT
For the
Middle District Of Florida

U.S.A. vs. Antonio Walthour * Docket No. 113A 6:19-CR-00122-01
Petition for Action on Conditions of Pretrial Release

COMES NOW Ebonie Henderson, U.S. PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant Antonio Walthour, who was placed under pretrial
release supervision by the Honorable Daniel C, [rick in the Court at Orlando, Florida, on November
19, 2019.

Respectfully presenting a petition for action of Court and for cause as follows:

1. Defendant shall not use or unlawfully possess a narcotic drug or other contr rolled
substance unless as prescribed by a ticense medical practitioner.

On November 5,-2019, the defendant submitted a drug test, which returned a positive result
for the presence of marijuana and cocaine. On December 5, 2019, the defendant submitted
a drug test, which returned a positive result for the presence of marijuana, On March 3,
2020, the defendant submitted a drug test, which returned a positive result for the presence
of marijuana and methamphetamine.

2. Defendant must not violate federal, state, or local Iaw while on release.
On March 3, 2020, the defendant was arrested in Tennessee by the !9th Judicial District
Drug Task Force with Evidence-Tampering With Or Fabricating, Evading Arrest,

Methamphetamine Violation, Unlawful Drug Paraphernalia, Traffic-Speeding, and
Driving While License Revoked Or Suspended.

Case 3:20-mj-01171 Document 1-1 Filed 11/16/20 Page 5 of 6 PagelD #: 8
, Case 6:19-FORBASEH EP2DBEGHORD EA 2 F ied BM 2922 Raae 2 PiagelD 245

PRAYING THAT THE COURT WILL ORDER A WARRANT BE ISSUED FOR THE
DEFENDANT'S ARREST AND HIS BOND BE REVOKED THROUGH THE PENDENCY

OF HIS CASE.
ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct.
Considered and ordered this : day

of , 2020 and ordered filed and Executed on March 4, 2020

made a part of the records in the above case.
ri

U.S. Magistrate Judge | : U.S, Pretrial Services Officer
Daniel C. Itick Ebonie Henderson

Assistant United States Attorney, Dana Edward Hill: . p R. 5 fy On V\
_ jo S-

Case 3:20-mj-01171 Document 1-1 Filed 11/16/20 Page 6 of 6 PagelD #: 9
Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 12 of 17 PagelD 246

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ATTEST AND CERTIFY
UNITED STATES DISTRICT COURT ecco
MIDDLE DISTRICT OF TENNESSEE U.S. DISTRICT 2OURT
NASHVILLE DIVISION ODI DISTRICT OF TENNESSEE
By 4 fi tau Hf (tL
UNITED STATES OF AMERICA ) ed cael
)
v. )
) No. 3:20mj1171
)
Antonio Walthour )

UNITED STATES’ MOTION FOR DETENTION
Comes Now the United States of America by Donald Q. Cochran, United States
Attorney, and Andrew Notaristefano, Assistant United States Attorney, and moves this Court for
detention of the Defendant in this matter under 18 U.S.C. § 3142.
The United States would submit that the Defendant has a significant history of violent
crime including the underlying bank robbery offense, an aggravated assault conviction, and a
felony possession with intent to distribute conviction. He has been awaiting sentencing in the
Middle District of Florida after pleading guilty to conspiracy to distribute fentanyl. He did not
comply with the terms of his pretrial release by virtue of doing drugs and being arrested for a
state crime. In that state arrest, the defendant fled from police, who had to use spikes to stop his
vehicle,
The United States submits that the Defendant is both a danger to the community, and
given his conduct while on pretrial release, a flight risk.
The United States respectfully requests a continuance of three business days in order to
adequately prepare for the hearing in this matter.
Respectfully submitted,

DONALD Q. COCHRAN
United States Attorney

Case 3:20-mj-01171 Document 2 Filed 11/16/20 Page 1 of 2 PagelD #: 10
Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 13 of 17 PagelD 247

*

By:

‘sf Andrew Notaristefano
ANDREW NOTARISTEFANO
Assistant U.S. Attorney
110 9 Avenue South
Nashville, Tennessee 37203
Phone: (615) 736-5151
Andrew. notaristefano@usdoj.gov

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing will be served electronically
to counsel for defendant via email on the 16th day of November 2020

/s/ Andrew Notaristefano
ANDREW NOTARISTEFANO

2

Case 3:20-mj-01171 Document 2 Filed 11/16/20 Page 2 of 2 PagelD #: 11
Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 14 of 17 PagelD 248

MAGISTRATE JUDGE HOLMES COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS
by VIDEOCONFERENCE

U.S.A. v. dite bo TAA ST No. _20- dl 7)

ATTORNEY FOR GOVERNMENT:

ATTORNEY FOR DEFENDANT: { wD ( itpa5 AFPD Panel Retained

PRETRIAL SERVICES/PROBATION OFFICER: Dorvarent, Dordtse.

 

INTERPRETER NEEDED? YES LANGUAGE/INTERPRETER:
0 PRESENT 1] ON TELEPHONE

 

INITIAL APPEARANCE O ON A SUMMONS JX ARRESTED ON: hi Lr - / b . ZO

DEFENDANT HAS A COPY OF: D>
Ci Complaint 0 Indictment DO Information 0 Supervised Release Pet, Bal Other ~~

“E) Defendant advised of the charges and the maximum penalties = J
Defendant has a copy of notice of rights oY
Defendant advised of right to counsel O Counsel retained

0 Defendant sworn and/or certified under penalty of perjury and financial affidavit filed Rf FPD Appointed
Defendant advised of right to silence

OC) Defendant advised of right to Consular notification

0 GOVERNMENT and DEFENDANT advised of Due Process Protections Act of 2020
Government motion for detention

 

0 Defendant temporarily detained OU ICE detainer on defendant

0 Defendant waived detention hearing Ci Defendant reserved right to hearing in future

&{ Defendant to remain in Federal custody

(i Defendant to be returned to State custody QC Defendant waived rights under LAD

CO Defendant advised of right to preliminary hearing CG Defendant waived preliminary hearing.

C Defendant ordered to psychological/psychiatric evaluation ATTEST ANU CERTIFY
. - . ATRUE COPY

O Defendant to remain on current conditions of supervised release t CLERK

0) Defendant released on: U.S. DISTRICR COURT

CO Own recognizance with conditions of release (standard OO special
O Appearance bond in the amount of:
C Property bond [description of property]: Z
ULE 5 - Defendant advised of right to identity hearing _Xdefendant waived identity hearing

RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution

RULE 5 - Defendant elected to have detention hearing in District of Prosecution
O RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE 20 TRANSFER

O PRELIMINARY/DETENTION/ARRAIGNMENT CONTINUED TO:

 

 

 

O GRAND JURY WAIVED IN OPEN COURT [Defendant sworn and advised of rights by Court]

O ARRAIGNMENT
C Defendant acknowledges he/she has copy of Indictment/Information [ Court advised Def. of penalties
O Defendant waives reading thereof (C1 Indictment/Information read to defendant by Judge
PLEA: O GUILTY ONOT GUILTY O Defendant intends to plead guilty and case referred to DJ

 

pate:___//"/6 “20 rorantimm —//on—
BEGIN TIME: ___ 5.30 END TIME: __ 5-7 /
Digitally Recorded

Form Regi 80 -mj-01171 Document =#2¢:h64-24/16/20 Page 1 of 1 PagelD #: 12
Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 15 of 17 PagelD 249

ATTEST AND Cf

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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE oli

       

UNITED STATES OF AMERICA
Vv. NO. 20-mj-1171

ANTONIO WALTHOUR

ORDER
On the basis of Defendant's affidavit in this cause, the Court determines

that Defendant:

O is financially able to employ counsel and, therefore, denies his application
for appointment of counsel at government expense.

i) is financially unable to employ counsel and appoints the Office of the
Federal Public Defender to represent him.

is financially unable to pay the fee of any witness and pursuant to Rule

17(b}, of the Federal Rules of Criminal Procedure, the Clerk shall issue a
subpoena for any witness, PROVIDED that Defendant and his counsel shall
submit subpoenas only for those witnesses whose presence is necessary to
present an adequate defense to the charge or charges.

Lx] Upon Motion of the Government, the Court may order repayment or partial

repayment from Defendant for the attorney and witness fees for these
services should it appear Defendant has such ability at a later time.

It is so ORDERED.

Dated: November 16, 2020

 

 

 

cc: United States Attorney
Federal Public Defender
United States Probation
United States Marshal

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Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 16 of 17 PagelD 250

ATTEST AND CERTIFY
ATRUE COPY
* CLERK
U.S. DISTRICT COURT
LE/DISTRICT Of TENNESSEE

  

IN THE UNITED STATES DISTRICT COURT Mi

  

MIDDLE DISTRICT OF TENNESSEE By
UNITED STATES OF AMERICA )
)
v. ) MD/TN NO. 20-mj-1171
) MD/FL NO. 6:19-cr-122-ORL-41DC1
ANTONIO WALTHOUR )

ORDER HOLDING DEFENDANT TO ANSWER
IN THE MIDDLE DISTRICT OF FLORIDA

The defendant, Antonio Walthour, was arrested in this District on a Warrant issued on
March 9, 2020, in the Middle District of Florida, charging him with violations of conditions of
release.

Section I. Preliminary Proceedings:
XX _ Defendant waived an identity hearing at the initial appearance.

-X_ __ Defendant waived any preliminary hearing to which he may be entitled pending his return
to the MD/FL, requesting that any preliminary hearing be held in that district.

Section 1]. Bond/Detention Proceedings.

x Defendant waived a hearing on the Government’s motion for detention pending his return
to the MD/FL, requesting that the detention hearing be held in that district.

IT IS HEREBY ORDERED:

X_ «That defendant be HELD TO ANSWER in the Middle District of Florida. Defendant shall
be detained pending a hearing on the violations of conditions of release upon his return to
the MD/FL, or further order of the Court. Defendant is committed to the custody of the
Attorney General or his designated representative for confinement in a corrections facility
pending disposition of the charges filed against him, and he shall be held separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody
pending appeal. Defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of
an attorney for the Government, the person In charge of the corrections facility shall deliver
Defendant to the United States Marshal for the purpose of an appearance in connection with
a court proceeding.

It is SO ORDERED. ¢ | SP Wes —
BARBARA D.HOEMES \

United States Magistrate Judge

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Case 6:19-cr-00122-CEM-DCI Document 69 Filed 11/30/20 Page 17 of 17 PagelD 251
AO 94 (Rev. 06/09) Commitment to Another District

UNITED STATES DISTRICT COURT — AT ESTANO ceRTiey

for the ATRU FUE COP Y
Middle District of Tennessee OD oe DISTRICT URT

    
 

DISTRICT OF TENNESSEE

 

 

United States of America )
Vv. )
) Case No. 20-mj-1171
)
ANTONIO WALTHOUR ) Charging District’s
Defendant ) Case No. 6:19-cr-122-Orl-
COMMITMENT TO ANOTHER DISTRICT
The defendant has been ordered to appear in the Middle District of Florida ;
(if applicable) division. The defendant may need an interpreter for this language:

The defendant: O will retain an attorney.

x is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

Date: Nov 16, 2020 Cprtees PI Blo —

’ Judge ‘\ signature

 

BARBARA D. HOLMES, U.S. Magistrate Judge

Printed name and title

*Defendant elected to have any preliminary hearing he may be entitled to and a hearing on the Government’s
motion for detention upon his return to the Middle District of Florida.

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